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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

AMERICAN FOREST RESOURCE COUNCIL,                  ) Case No. 12-111-JDB
CARPENTERS INDUSTRIAL COUNCIL, and                 )
DOUGLAS COUNTY, OREGON,                            )
                                                   )
                     Plaintiffs,                   ) ORAL ARGUMENT
                                                   ) REQUESTED
       vs.                                         )
                                                   )
DANIEL M. ASHE, Director, U.S. Fish and Wildlife   )
Service, and KEN SALAZAR, Secretary of Interior,   )
                                                   )
                     Defendants,                   )
                                                   )
       and                                         )
                                                   )
AUDUBON SOCIETY OF PORTLAND, SEATTLE               )
AUDUBON SOCIETY, CENTER FOR BIOLOGICAL             )
DIVERSITY, OREGON WILD, CONSERVATION               )
NORTHWEST, ENVIRONMENTAL PROTECTION                )
INFORMATION CENTER, and SIERRA CLUB,               )
                                                   )
                     Defendant-Intervenors.        )
                                                   )

                     DEFENDANT-INTERVENORS’ OPPOSITION
                        TO PROPOSED CONSENT DECREE




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                                         INTRODUCTION

       Plaintiffs American Forest Resource Council (“AFRC”) and federal defendants U.S. Fish

and Wildlife Service (“FWS”) present this Court with a consent decree for approval, one that

resolves AFRC’s claims challenging the 1996 critical habitat designation for the marbled

murrelet by granting them. Buried in the joint motion memorandum and consent decree are the

salient specifics. FWS has agreed to vacate the 16-year-old critical habitat rule, and it has agreed

to a schedule for remand which delays a new critical habitat rule until September 30, 2018—

ensuring that murrelet habitat remains unprotected for at least six years.

       The Court should reject this consent decree for three reasons. First, in this challenge to a

1996 final rule designating critical habitat, the statute of limitations has long since expired, and

this Court does not have jurisdiction to approve this consent decree. Second, this Court should

not allow AFRC and FWS to accomplish through the label of “consent decree” what they could

not accomplish through a request for voluntary remand or similar motion. Federal agencies

cannot simply agree to vacate validly adopted rules and obtain federal court approval for that

decision. Finally, the proposed consent decree is not fair, reasonable, or in the public interest.

The parties state that the Court can approve this consent decree over the objections of defendant-

intervenors, but they slide over the fact that this agreement will leave the marbled murrelet—a

threatened seabird in decline primarily because of habitat destruction—without Endangered

Species Act habitat protections for at least six years. They also rely on a separate federal

agency’s land management plan to protect murrelet habitat in the intervening years, a position

that the Ninth Circuit has resoundingly rejected.

       For the reasons discussed below, defendant-intervenors Audubon Society of Portland

et al. (“Audubon”) respectfully ask the Court to deny the motion for entry of consent decree.



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                                         BACKGROUND

       In the Pacific Northwest, a small seabird known as the marbled murrelet makes its home.

About the size of a robin, marbled murrelets spend most of their relatively long lives on the

coastal sea, diving for and feeding on small fish and invertebrates. These unassuming birds

would hardly seem to be the focus of controversy, except that murrelets nest almost exclusively

in coastal old-growth trees. This nesting behavior puts this shy seabird squarely in the path of

the timber industry, and when FWS first studied murrelets, commercial timber harvest had

already destroyed up to 90 percent of marbled murrelet nesting habitat in Washington, Oregon,

and California. 56 Fed. Reg. 28,362, 28,363-64 (June 20, 1991).

       In 1992, due primarily to this extensive harvest of late-successional and old-growth

forest, FWS listed the population of marbled murrelets in Washington, Oregon, and California

(the “tri-state population”) as threatened under the Endangered Species Act (“ESA”). 57 Fed.

Reg. 45,328 (Oct. 1, 1992). In 1996, FWS designated 3,887,800 acres of land as critical habitat

for the murrelet. 61 Fed. Reg. 26,255 (May 24, 1996). Through its critical habitat designation,

FWS decided that the identified areas were necessary for the survival and recovery of the tri-

state population.

       The tri-state murrelet listing and critical habitat designation has long irritated plaintiff

AFRC, a timber and forest products trade association, because it has restricted some logging

primarily on federal public land. Over the last decade, AFRC has engaged in a litigation

campaign to remove all protections from the murrelet and its old-growth habitat—despite recent

scientific studies showing the continued decline of murrelets in both the tri-state region and north

in Canada and Alaska. This campaign has led to this case, which challenges FWS’s failure to

grant AFRC’s petition for delisting and challenges FWS’s 1996 critical habitat designation.

While FWS states that it will continue to defend its denial of AFRC’s delisting petition, FWS has

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submitted a consent decree for this Court’s approval that eliminates all critical habitat protection

for marbled murrelets for at least the next six years.

                                            ARGUMENT

I.     THE COURT LACKS JURISDICTION TO ENTER THE PROPOSED CONSENT
       DECREE.

       A.      The 1996 Critical Habitat Rule Falls Outside the Six-Year Statute of Limitations.

       Federal law provides that “every civil action commenced against the United States shall

be barred unless the complaint is filed within six years after the right of action first accrues.”

28 U.S.C. § 2401(a). Because § 2401(a)’s six-year limitation applies to actions under the ESA,

see, e.g., Alsea Valley Alliance v. Evans, 161 F. Supp. 2d 1154, 1160 (D. Or. 2001), and because

in the case of a critical habitat designation, a cause of action accrues when the agency’s decision

becomes “final,” see Sierra Club v. Slater, 120 F.3d 623, 631 (6th Cir. 1997), there is no

question that AFRC’s 2012 challenge to FWS’s 1996 final murrelet critical habitat designation is

out of time.

       B.      The Six-Year Statute of Limitations Is Jurisdictional.

       Although statutes of limitations do not always affect a court’s subject matter jurisdiction,

courts in this Circuit have consistently held that § 2401(a) is jurisdictional, and that it may

impose a subject matter bar to civil suits against the federal government. See P & V Enters. v.

U.S. Army Corps of Eng’rs, 516 F.3d 1021, 1026-27 (D.C. Cir. 2008); Conservation Force v.

Salazar, 811 F. Supp. 2d 18, 28 n.4 (D.D.C. 2011); W. Va. Highlands Conservancy v. Johnson,

540 F. Supp. 2d 125, 143 (D.D.C. 2008). Because § 2401(a) is jurisdictional, it is “not capable

of a waiver or subject to an estoppel” by the government. Best Bearings Co. v. United States,

463 F.2d 1177, 1179 (7th Cir. 1972). See John R. Sand & Gravel Co. v. United States, 552 U.S.

130 (2008) (holding that 28 U.S.C. § 2501, a near-identical statute to § 2401(a) dealing with suits


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in the Court of Federal Claims, is jurisdictional and not subject to waiver).

       Federal courts are courts of limited jurisdiction and possess only the powers conferred by

the United States Constitution or statute. Kokkonen v. Guardian Life Ins. Co. of America,

511 U.S. 375, 377 (1994). Given that this Court does not have subject matter jurisdiction to

decide whether the murrelet’s 1996 critical habitat designation was valid, the Court also lacks the

authority to approve a consent decree that entirely eliminates that critical habitat. See Local No.

93, Int’l Ass’n of Firefighters, AFL-CIO v. City of Cleveland, 478 U.S. 501, 525 (1986) (for a

court to have authority to approve a consent decree, it “must spring from and serve to resolve a

dispute within the court’s subject-matter jurisdiction.”) (emphasis added). This Court may not

enter or approve the proposed consent decree because it does not have subject matter jurisdiction

over claims against a critical habitat rule finalized 16 years ago.

       C.      FWS Has Not Reopened the 1996 Critical Habitat Rule.

       In their joint motion, AFRC and FWS do not mention this jurisdictional barrier, acting as

if there is federal district court jurisdiction where there is none. Although not addressed in their

papers, AFRC and FWS likely rely on the doctrine of reopener to justify invoking this Court’s

jurisdiction. The doctrine of reopener provides an exception to statutory time limits on seeking

review of agency decisions; in certain circumstances, agencies restart the statute of limitations

where the agency actually reconsiders and reaffirms an older rule. See, e.g., Nat’l Ass’n of

Reversionary Prop. Owners v. Surface Transp. Bd. (NARPO), 158 F.3d 135, 141 (D.C. Cir.

1998) (“We have said that when the later proceeding explicitly or implicitly shows that the

agency actually reconsidered the rule, the matter has been reopened ….”).

       In the past 16 years, FWS has twice revisited the marbled murrelet critical habitat

designation, both times without reopening the original 1996 rule. In 2006, FWS issued a

proposed new critical habitat rule that, if adopted as proposed, would have eliminated 95 percent

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of the murrelet’s protected critical habitat. 71 Fed. Reg. 53,838 (Sept. 12, 2006). The agency

accepted public comment on its proposed rule, but then abandoned the new rule entirely,

declining to finalize the 2006 proposal or even respond to comments. 73 Fed. Reg. 12,067

(Feb. 27, 2008). Because the agency neither promulgated a new rule nor reevaluated and

readopted the old rule, FWS’s actions did not reset the statute of limitations on the 1996 rule.

       In 2008, FWS again proposed to modify the murrelet critical habitat rule, but this time it

proposed the removal of specific, discrete areas from the 1996 designation. 73 Fed. Reg. 44,678

(July 31, 2008). FWS finalized this minor revision in 2011, specifically noting that comments

received on the underlying 1996 rule as a whole were “outside the scope of the proposed rule.”

76 Fed. Reg. 61,599, 61,600 (Oct. 5, 2011). While the statute of limitations for any challenge to

the removal of those approximately 200,000 acres from almost four million acres of critical

habitat runs from 2011, this limited revision did not reopen the rest of the 1996 rule.

               1.      The 2008 abandoned rulemaking did not reopen the 1996 rule.

       In 2006, FWS began a process to completely rewrite the 1996 murrelet critical habitat

rule. If FWS had promulgated this new habitat rule, a new statute of limitations would have

started at that time. But FWS did not finalize its proposed rule. More importantly, neither did

FWS make a substantive decision to re-adopt the 1996 rule. Instead, the agency abandoned the

process in mid-stream, citing other factors that made revision at that time imprudent. FWS

stated that “due to the uncertainty regarding the effects of current BLM Resource Management

Plan revisions, we find that it is not appropriate to revise critical habitat at this time….

Accordingly, the May 24, 1996 final rule designating critical habitat for the marbled murrelet

remains in effect.” Id. at 12,068. This abandonment of a proposed rule—a decision that left the

prior rule in place, unexamined—did not reopen the original rule.

       Courts look to the entire context of an agency’s new rulemaking to determine whether the

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agency reopened a previous rule. Public Citizen v. Nuclear Regulatory Comm’n, 901 F.2d 147,

150 (D.C. Cir. 1990). Four factors are often discussed during this overarching review: whether

the agency “(1) held out [the unchanged section] as a proposed regulation, (2) offered an

explanation for its language, (3) solicited comments on its substance, and (4) responded to the

comments in promulgating the regulation in its final form.” Montana v. Clark, 749 F.2d 740,

744 (D.C. Cir. 1984). In this way, the doctrine of reopener strikes a note of basic fairness—if an

agency has reevaluated an old rule, taken and responded to comments on it, and affirmatively

decided to re-adopt it, then the agency cannot shield what is truly a new decision from review.

       Proposed changes to an existing rule alone do not trigger reopener—a new promulgation

and re-adoption of the old rule must be made by the agency. For example, when an agency

published and solicited comments on an advanced notice of proposed rulemaking, but then

decided not to amend the rule at issue, the D.C. Circuit found no reopener. See P & V Enters.,

516 F.3d at 1024. Similarly, when an agency published a petition for a rule change and solicited

comments on that petition but then did not amend the rule at issue, there was no reopener.

National Mining Ass’n v. U.S. Dep’t of Interior, 70 F.3d 1345, 1351 (D.C. Cir. 1995). Nor is

reiterating the original rationale for the old rule sufficient to constitute reopener. Am. Road &

Transp. Builders Ass’n v. EPA (American Road), 588 F.3d 1109 (D.C. Cir. 2009). In American

Road, EPA had republished an existing rule and repeated its rationale for the rule “more or less

verbatim” from its initial promulgation. Id. at 1115. The court held that there was no indication

that EPA reconsidered the rule, so its republication did not constitute reopener.

       In contrast, where an agency publishes a proposed rule that includes provisions from a

previously enacted rule, solicits comments on the proposed new rule, including the previously

promulgated provisions, and then publishes a final rule that re-adopts the prior rule and includes



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a response to comments explaining the agency’s decision to continue to adhere to the old rule,

the agency has reopened the entire rule, including its original aspects. See, e.g., Montana,

749 F.2d at 744 (reopener because the agency “held out [the old rule] as a proposed regulation,

offered an explanation for its language, solicited comments on its substance, and responded to

the comments in promulgating the regulation in its final form”); Ohio, 838 F.2d at 1327-28

(reopener because agency “explained the unchanged but republished portion of the regulation …

in general policy terms and responded to at least one comment” directed at the old rule).

       This is precisely what did not happen here. In 2006, FWS did not hold out the 1996 rule

as a proposed regulation, it offered a substantially different rule, one that reduced protected

critical habitat by almost 95 percent. FWS did not solicit comments on the old rule; it took

comments on the new proposed rule. In 2008, FWS did not respond to comments at all; instead,

it simply stopped the administrative process. 73 Fed. Reg. at 12,068. FWS did not promulgate a

new rule or re-promulgate the prior rule; it only noted that the old rule remained in effect, a

simple statement of fact, not a decision.

       Looking at the entire context, Public Citizen, 901 F.2d at 150, it is clear that FWS did not

re-adopt the 1996 rule in 2008. The reopener doctrine allows an otherwise late challenge to

proceed because the agency “reexamined … and reaffirmed its [prior] decision.” Public Citizen,

901 F.2d at 151; NARPO, 158 F.3d at 141 (for reopener to apply, agency must have “actually

reconsidered the rule”). Here, FWS did not reconsider or reaffirm the 1996 rule; it simply

abandoned a separate rulemaking process. FWS did not even respond to comments, contrary to

other situations where courts in this circuit have found reopener. See Public Citizen, 901 F.2d at

150 (“If in responding to comments the agency uses language that shows that it did in fact

reconsider an issue, a renewed challenge to the underlying rule or policy will be allowed.”).



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          The 2008 abandonment of the rule revision process did not reexamine the 1996 rule,

“much less offer[] any rationale for reaffirming the rule.” P & V Enters., 516 F.3d at 1025. The

2008 finding, much like the press release in P & V Enters., was not a reexamination of the 1996

rule, did not respond to comments, and briefly explained that FWS found “that it is not

appropriate to revise critical habitat at this time.” 73 Fed. Reg. at 12,068. In all the cases where

courts have found reopener, the courts have also found that the agency substantively decided to

reaffirm the old rule. See, e.g., Nat’l Mining Ass’n v. Office of Hearings and Appeals, 777

F. Supp. 2d 164, 174 (D.D.C. 2011) (“[t]he fact that OHA altered, at least to some extent, the

basis underpinning [its regulation] … [is] further proof that it undertook the kind of serious,

substantive reconsideration that justifies application of the reopener doctrine”). Those facts do

not exist here. Because the reopener doctrine only applies where the entire context

“demonstrates that the agency ‘has undertaken a serious, substantive reconsideration of the

[existing] rule,’” FWS did not reopen the 1996 critical habitat rule in 2008. P & V Enters.,

516 F.3d at 1024 (quoting Nat’l Mining Ass’n, 70 F.3d at 1352).

                 2.      The 2011 revision to critical habitat did not reopen the entirety of the
                         1996 rule.

          The question of application of the reopener doctrine to FWS’s 2011 revision to critical

habitat is even simpler. In 2011, FWS proposed and ultimately adopted a specific, narrow

revision of the 1996 rule to remove limited amounts of critical habitat that the agency felt no

longer met the critical habitat definition. The statute of limitations for that minor revision started

to run in 2011, but it did not throw open the entire 1996 critical habitat designation to renewed

review.

          Just as reopener can only be triggered by a new promulgation by the agency (a essential

fact missing from the 2008 finding discussed above), reopener only applies to those particular


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issues actually reconsidered in the new promulgation. In 2011, FWS made a final decision that

revised murrelet critical habitat by removing approximately 200,000 acres from the 1996

designation. 76 Fed. Reg. 61,599. AFRC and others remain free to challenge that specific

revision until October 5, 2017, but they cannot boot strap a challenge to the rest of the 1996 rule

into that timeframe.

       As discussed above, the doctrine of reopener only applies where the agency actually

reconsidered and reaffirmed a previous rule. NARPO, 158 F.3d at 141; Public Citizen, 901 F.2d

at 150-51; American Road, 588 F.3d at 1115; P & V Enters., 516 F.3d at 1024. In NARPO, the

D.C. Circuit rejected the contention that three specific proposals opened up a wholesale review

of the underlying regulatory scheme. 158 F.3d at 144. The appellate court found that by making

specific proposals, the agency “did not in any way signal its intent to revisit” other portions of

the rule. Id. Similarly here, FWS explicitly rejected comments and suggestions that focused on

the underlying 1996 rule:

       Several comments we received were outside the scope of the proposed rule, which
       was limited to (1) The proposed removal of approximately 191,000 ac (77,295 ha)
       of critical habitat in northern California and southern Oregon based on the very
       low likelihood of marbled murrelet occurrence as is discussed in further detail
       below; (2) the proposed removal of approximately 63,000 ac (25,495 ha) of
       critical habitat in Douglas and Lane Counties, Oregon, that were designated
       farther than 35 miles inland, based on criteria identified in the 1997 Recovery
       Plan for the Marbled Murrelet (Washington, Oregon, and California Populations);
       and (3) the proposed taxonomic revision of the scientific name of the marbled
       murrelet.

76 Fed. Reg. at 61,600. FWS specifically listed examples of comments that went outside the

scope of the rule, including “claims of inconsistency with statutory requirements” that echo

AFRC’s claims in this litigation. Id. FWS noted that these issues were not only beyond the

scope of the proposed rule, but might also “require separate rulemaking to be considered.” Id.

FWS applied the 1996 critical habitat criteria to recent data from designated critical habitat to


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determine whether the habitat continued to meet the 1996 criteria, id. at 61,606, and ultimately

amended, but did not reconsider, the 1996 rule. Id. at 61,612. As the court in NARPO found,

even if an agency includes general language in its notice of proposed rulemaking that may invite

broader comments, it is what the agency ultimately proposes, reviews, and promulgates that

controls. 158 F.3d at 145 (“Inserting what amounts to a suggestion box in the Federal Register

hardly eviscerates jurisdictional time constraints.”); id. at 146 (“The mere act of repeating old

reasons for an old policy is not the equivalent of reconsidering, and therefore reopening, the old

issue.”). See also American Road, 588 F.3d at 441 (agency gave no indication that it had

undertaken a serious, substantive reconsideration of the entire rule).

                                          *      *         *

       In sum, this Court lacks jurisdiction under § 2401(a) to entertain AFRC’s challenges to

the 16-year old critical habitat designation for the marbled murrelet. Accordingly, the Court

lacks jurisdiction to enter the proposed consent decree.

II.    THE COURT SHOULD NOT APPROVE A CONSENT DECREE THAT WOULD
       VACATE CRITICAL HABITAT.

       The parties claim that the consent decree embodies a “reasonable compromise” because

AFRC does not receive declaratory relief, and FWS does not admit to any legal violations in its

1996 critical habitat rule. Joint Memo. at 7. Yet the parties, under the cover of a consent decree,

are trying to do what other courts in this Circuit have recently disallowed—vacate a federal rule

without following Administrative Procedure Act (“APA”) requirements and obtain a federal

court blessing without a ruling on the merits.

       The critical habitat rule that FWS has agreed to vacate through the proposed consent

decree is a final regulation adopted through the notice and comment procedures of § 4 of the

APA, 5 U.S.C. § 553, and § 4 of the ESA, 16 U.S.C. § 1533(a). These procedures include


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adequate public notice and an opportunity to comment, as well as a number of other specific

steps. See, e.g., 16 U.S.C. § 1533(4)-(6) (setting forth procedural requirements for critical

habitat designations and revisions) As a consequence, FWS’s agreement to vacate murrelet

critical habitat as a part of the consent decree is itself a rulemaking, subject to these same

procedural requirements. See 5 U.S.C. § 551(5) (APA defines “rule making” to encompass

“repealing a rule”). FWS cannot unilaterally rescind a final critical habitat rule under either the

APA or the ESA by dressing its action in the trappings of an agreed settlement among

presumably adverse parties, and the Court should reject the consent decree for that reason.

       Even where a consent decree admits a legal defect in the final rule that is being set aside

through a proposed settlement—an admission FWS explicitly does not make here—this Circuit

has observed:

       [the] argument that notice and comment requirements do not apply to ‘defectively
       promulgated regulations’ is untenable because it would permit an agency to
       circumvent the requirements of § 553 merely by confessing that the regulations
       were defective in some respect and asserting that modification or repeal without
       notice and comment was necessary to correct the situation. Such a holding would
       ignore the fact that the question whether the regulations are indeed defective is
       one worthy of notice and an opportunity to comment.

Consumer Energy Council v. Federal Energy Regulatory Comm’n, 673 F.2d 425, 447 n.79 (D.C.

Cir. 1982). To permit an agency to accomplish via agreement what is otherwise prohibited by

the procedural decisionmaking requirements of the APA and the ESA would open a gaping

loophole in these procedural safeguards and allow circumvention of notice and comment through

suits by private interests that conveniently end in consent decrees to rescind duly promulgated

regulations. Cf. Environmental Defense Fund v. Costle, 636 F.2d 1229 (D.C. Cir. 1980)

(upholding an EPA settlement agreement because agency committed only to preliminary,

investigatory steps that did not require notice and comment under the APA).

       FWS can only revise or rescind a final critical habitat rule through further rulemaking.

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The parties’ proposed consent decree instead seeks a shortcut for repeal of a final rule that

evades the requirements of both the ESA and the APA. Indeed, in the absence of any completed

rulemaking to repeal or amend the existing murrelet critical habitat designation, the Court cannot

properly set aside the existing designation unless it independently determines that the existing

final rule establishing the designation is illegal -- a point the FWS has not conceded, and a

determination the Court cannot make on the information currently before it. Under these

circumstances, the Court should reject the proposed consent decree as contrary to the

requirements of the laws that form the basis of the AFRC’s complaint. See, e.g., Complaint

¶¶ 47-67 (claims and jurisdiction based on the ESA and the APA); see also Local Number 93,

478 U.S. at 525-26 (courts cannot approve settlement agreements that “conflict[] with or

violate[] the statute upon which the complaint was based”).

       Audubon is aware that two different district courts in this circuit have approved consent

decrees that vacated critical habitat rules. See Home Builders Ass’ns of N. California v. Norton,

293 F. Supp. 2d 1, 4 (D.D.C. 2002); Nat’l Ass’n of Home Builders v. Evans, 2002 WL 1205743,

at *2 (D.D.C. Apr. 30, 2002). However, the consent decrees in both cases stemmed from FWS’s

decision to apply, nationwide, a ruling from the Tenth Circuit concerning the economic analysis

associated with designation of critical habitat. See N.M. Cattle Growers Ass’n v. U.S. Fish and

Wildlife Serv., 248 F.3d 1277 (10th Cir. 2001). In both cases, the district court judges reviewed

not only the record of the cases before them, but also the Tenth Circuit’s decision, finding the

Tenth Circuit opinion and rationale persuasive. See Nat’l Ass’n of Home Builders, 2002

WL 1205743, at *3 (“the persuasive rationale underlying the Tenth Circuit’s opinion makes it

quite understandable why the agency would want to remove the critical habitat designations and

conduct them in accord with proper methodology.”); Home Builders Ass’ns of N. California,



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293 F. Supp. 2d at 3 (“the Court has closely reviewed the parties’ arguments regarding the

validity of the economic impacts analysis advanced by the Tenth Circuit in New Mexico Cattle

Growers and adopted thereafter by the Fish and Wildlife Service as its policy in this case and all

others throughout the country.”). In that unique situation, the courts approved consent decrees

that vacated critical habitat.

        With respect, Audubon submits that more recent D.C. district court decisions limit the

applicability of the Home Builders precedents. In Nat’l Parks Conservation Ass’n v. Salazar,

660 F. Supp. 2d 3, 4 (D.D.C. 2009), the district court rejected a motion for voluntary remand and

vacatur of a mining rule even though the federal agency “confess[ed] serious legal deficiencies in

the rulemaking:”

        The Court finds no precedent to support the proposition that it should remand and
        vacate the SBZ Rule under the circumstances presented here. Moreover, the
        [defendant-intervenor National Mining Association] has the better argument that
        granting the Federal defendants’ motion would wrongfully permit the Federal
        defendants to bypass established statutory procedures for repealing an agency
        rule. The APA requires government agencies to follow certain procedures,
        including providing for public notice and comment, before enacting or amending
        a rule. ... While notice and comment procedure is not required where a court
        vacates a rule after making a finding on the merits, ... granting vacatur here would
        allow the Federal defendants to do what they cannot do under the APA, repeal a
        rule without public notice and comment, without judicial consideration of the
        merits.

Id. at 4 (citations omitted). The district court in Carpenters Indus. Council v. Salazar,

734 F. Supp. 2d 126, 135-36 (D.D.C. 2010), denied FWS’s request to vacate a 2008 critical

habitat rule for northern spotted owls during remand (even though vacatur would have returned

to force a more protective rule) because it “would allow the Federal defendants to do what they

cannot do under the APA, repeal a rule without public notice and comment, without judicial

consideration of the merits.” This Court similarly invalidated the Department of Interior’s

withdrawal of a Bureau of Land Management (“BLM”) planning rule because the agency did not


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follow the proper procedures, including notice and comment. Douglas Timber Operators v.

Salazar, 774 F. Supp. 2d 245, 257-59 (D.D.C. 2011).

       Audubon asks the Court to reject the consent decree because it attempts to vacate,

without public process or admission of legal error, a validly promulgated agency rule.

III.   THE CONSENT DECREE IS NOT FAIR, REASONABLE, OR IN THE PUBLIC
       INTEREST.

       Even if the Court finds that it has jurisdiction over challenges to the 1996 critical habitat

rule (a finding it should not make), or the Court decides it can approve the vacatur of a federal

rule without the required statutory process (another finding it should not make), the Court should

decline to enter the proposed consent decree because it is not fair, reasonable, or in the public

interest. AFRC and FWS ask the Court to bless the elimination of a final rule that has been in

place for nearly two decades, without any public process or admission of legal error. The

consent decree would leave no designated critical habitat in place for at least six years, despite

the fact that murrelets continue to decline and despite the fact that there are clear threats to

murrelet habitat during the lengthy period of remand. The Court should reject the proposed

consent decree as contrary to law and public policy. See Citizens for a Better Environment v.

Gorsuch, 718 F.2d 1117, 1126 (D.C. Cir. 1983) (prior to approving a consent decree a court must

“satisfy itself of the settlement’s ‘overall fairness to beneficiaries and consistency with the public

interest’”); Adams v. Bell, 711 F.2d 161, 170 n.40 (D.C. Cir. 1983) (en banc) (“[A] court should

enter a consent decree affecting the public interest only after considering the substantive validity

of the decree”).1



1
  AFRC and FWS cite to the standard for granting motion for voluntary dismissal to argue that
Audubon must show “legal prejudice” to object to the consent decree. See Joint Memo. at 12,
citing Kellmer v. Raines, 674 F.3d 848, 851 (D.C. Cir. 2012). This is simply the incorrect
standard. A motion for voluntary dismissal without prejudice, where a plaintiff merely abandons

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       A.      Removing All Critical Habitat Protections From the Marbled Murrelet for at Least
               Six Years Is Not Fair, Reasonable, or in the Public Interest.

       The consent decree is not fair, reasonable, or in the public interest because vacatur of the

longstanding critical habitat rule is inappropriate under this Circuit’s precedent. This is

especially true where, as here, the critical habitat rule has been in place for 16 years, and many

federal, state, and private actions, including recovery efforts, are based upon the current critical

habitat designation.

       It is well settled that a court need not vacate an administrative rule that has been held

invalid and has been remanded to the agency for further proceedings. See, e.g., ICORE, Inc. v.

Federal Communications Comm’n, 985 F.2d 1075, 1081 (D.C. Cir. 1993) (“This and other

federal circuit courts have repeatedly found it appropriate to remand an agency action without

vacating it”) (collecting cases). Indeed, as the Ninth Circuit explained in the context of a

successful challenge to an ESA listing determination: “when equity demands, the regulation can

be left in place while the agency follows the necessary procedures.” Idaho Farm Bureau Fed’n

v. Babbitt, 58 F.3d 1392, 1405 (9th Cir. 1995); Fertilizer Inst. v. EPA, 935 F.2d 1303, 1312

(D.C. Cir. 1991). Courts invoking their equitable authority in this Circuit have “traditionally not

vacated [a] rule if doing so would have serious adverse implications for public health and the

environment.” Natural Res. Def. Council v. EPA, 489 F.3d 1250, 1265 (D.C. Cir. 2007) (Rogers,

J., concurring in part and dissenting in part).2 This case presents such a situation: vacating the

1996 critical habitat rule would have serious adverse effects on the marbled murrelet and its


its claims, does not resemble this situation, where AFRC agrees to dismiss its claims only
because FWS agrees to grant its requested relief.
2
 Additionally, courts in this Circuit have been hesitant to vacate a rule when they have not
considered the merits of the underlying case. See Carpenters Indus. Council, 734 F. Supp. 2d at
135-36; Nat’l Parks Conservation Ass’n, 660 F. Supp. 2d at 4. Particularly here, where equity
weighs heavily against vacatur, the Court should not approve a consent decree that vacates the
1996 rule without considering the merits of plaintiffs’ claims.

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habitat. Because the consent decree vacates the 16-year-old critical habitat rule and proscribes a

six-year revision period, it is not fair, reasonable, or in the public interest.

        A leading D.C. Circuit case directs a court deciding whether to vacate an agency rule or

order to consider “the seriousness of the order’s deficiencies (and thus the extent of doubt

whether the agency chose correctly) and the disruptive consequences of an interim change that

may itself be changed.” Int’l Union, United Mine Workers v. Federal Mine Safety & Health

Admin., 920 F.2d 960, 967 (D.C. Cir. 1990); see A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484,

1491 (D.C. Cir. 1995) (same). Other circuits have likewise refrained from vacating an agency

rule where such a remedy would cause disruption and undermine the statutory scheme. See

Western Oil & Gas v. EPA, 633 F.2d 803, 813 (9th Cir. 1980).

        The substantial resources and efforts that have already been invested in developing

habitat conservation programs, avoiding harm to murrelet habitat, and planning for the recovery

of murrelets will be disrupted by removal of the critical habitat designation that currently exists.

Indeed, as another district court considering a challenge to a salmon critical habitat rule found,

the future prospects for recovery of the species could be diminished by a delay in further

recovery planning that depends on the critical habitat designation. See Ass’n of Cal. Water

Agencies v. Evans, No. 00-6148 REC/DLB, Order Denying Applicants’ Motion to Intervene as

Defendants at 9-10 (E.D. Cal. Aug. 21, 2001) (recognizing impact of plaintiffs’ claims on

applicants’ protectable interests because “recovery planning efforts would have to be rolled back

and species recovery would have to be delayed” if the existing critical habitat designations were

set aside) (attached as Exhibit A to Declaration of Kristen L. Boyles (Sept. 14, 2012).

        B.      Equity Demands That the 1996 Critical Habitat Designation Remain in Place to
                Prevent Serious Environmental Harm.

        Vacating the 1996 rule is nearly certain to result in serious harm to the marbled murrelet


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and its habitat, while leaving the rule in place during remand will place minimal burden on

AFRC. “The decision whether to vacate depends on ‘the seriousness of the order’s deficiencies

(and thus the extent of doubt whether the agency chose correctly) and the disruptive

consequences of an interim change that may itself be changed.’” Allied Signal v. U.S. Nuclear

Reg. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993) (quoting Int’l Union, 920 F.2d at 967). In

balancing these two factors in the environmental context, courts demonstrate special concern for

potential environmental harm during remand. See, e.g., Idaho Farm Bureau, 58 F.3d at 1405

(“In the present case, concern exists regarding the potential extinction of an animal species”);

Fertilizer Inst., 935 F.2d at 1312 (expressing concern that removal of EPA rules “may affect the

EPA’s ability to respond adequately to safety hazards”); W. Oil & Gas Ass’n v. EPA, 633 F.2d

803, 813 (9th Cir. 1980) (“Our hesitancy springs from a desire to avoid thwarting in an

unnecessary way the operation of the Clean Air Act”). These concerns support leaving the

critical habitat rule in place during remand.

               1.      Seriousness of the deficiency

       The first Allied Signal factor, the “deficiency” factor, does not tip the balance towards

vacatur in this case. FWS has not admitted any error or deficiency in the 1996 critical habitat

designation, instead noting that FWS has determined the 1996 rule “may be inconsistent” with

two appellate decisions from different circuits. Joint Memo. at 8. FWS commits only to

“undertake a new analysis,” consistent with legal requirements. Id. With essentially no

information, the Court should not find that the 1996 rule is seriously deficient.

       Even accepting AFRC’s allegations as true, the purported errors cannot be said to be

serious enough to require vacatur. AFRC alleges a variety of substantive and procedural defects

in the critical habitat rule. See Complaint at ¶¶ 47-67. Procedural deficiencies are generally not

considered serious enough under the first factor to require vacatur. See Idaho Farm Bureau,

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58 F.3d at 1405-06 (no vacatur where errors were procedural); Endangered Species Comm. of the

Bldg. Indus. Ass’n of S. Cal. v. Babbitt, 852 F. Supp. 32, 42 (D.D.C. 1994) (same). Substantive

failures are often considered more severe than procedural errors, see, e.g., Bldg. Indus. Legal

Def. Found. v. Norton (Building Industry), 231 F. Supp. 2d 100, 105 (D.D.C. 2002), but contrary

to the representation of AFRC (AFRC Supp. Memo. at 4-5), such errors are not dispositive that

vacatur is appropriate, see Allied Signal, 988 F.2d at 151 (substantive defect does not make

deficiency serious enough to vacate the rule); Int’l Union, 920 F.2d at 966-67 (citing United

Mine Workers of Am. v. Dole, 870 F.2d 662, 673-74 (D.C. Cir. 1989) and Md. People’s Counsel

v. FERC, 768 F.2d 450, 455 (D.C. Cir. 1985)) (“We have commonly remanded without vacating

an agency’s rule or order where the failure lay in lack of reasoned decisionmaking, but also

where the order was otherwise arbitrary and capricious.”).

        The heightened concern over substantive errors “derives from a potentially greater

likelihood of a significant change to the existing rule during remand.” Natural Res. Def. Council

v. U.S. Dept. of the Interior (NRDC), 275 F. Supp. 2d 1136, 1145 (C.D. Cal. 2002). This

concern is less important if there is “at least a serious possibility that the [agency] will be able to

substantiate its decision on remand.” Allied Signal, 988 F.2d at 151; see also Nat’l Ass’n of

Home Builders v. Norton (NAHB II), 2004 WL 3740765, *5 (D. Ariz. June 28, 2004) (severity of

error did not weigh in favor of vacatur because court was “unable to predict whether FWS will

show that the Arizona pygmy-owl population is significant to the taxon”). The NRDC court

determined that it was “not in a position to predict what the new [critical habitat] formulation

[would] be when the proper criteria [were] considered” and, therefore, could not find that the

consequences of the substantive error would be serious. Id.

        This case presents a similar situation to NRDC. There is no evidence upon which this



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Court can rely to determine that the consequences of the alleged deficiency are serious enough to

warrant vacatur. Despite AFRC’s contention that it would be “virtually certain” to prevail,

AFRC Supp. Memo. at 5, and its opinion that FWS will not be legally able to adopt the same

critical habitat rule on remand, id., AFRC and FWS are not asking the Court to rule on the

merits, nor has FWS indicated what it will likely do on remand.3 Given that every rule, plan, and

review conducted on the health of the murrelet population has stressed the importance and

primacy of protecting both occupied and unoccupied murrelet habitat, it is too speculative for

this Court or the parties to assume that FWS’s revised critical habitat rule will dramatically

change. See, e.g., 1996 Critical Habitat Rule, 61 Fed. Reg. at 26,261 (“Current and historic loss

of marbled murrelet nesting habitat is generally attributed to timber harvest”); 1997 Marbled

Murrelet Recovery Plan at 119 (Administrative Record (“AR”) 8082-8367) (“this recovery plan

focuses on protecting adequate nesting habitat by maintaining and protecting occupied habitat

and minimizing the loss of unoccupied but suitable habitat through several means, including

designation of critical habitat….”); 2004 Evaluation Report at 6-30 (AR 5846-6215) (“Although

the rate of loss has slowed since listing in 1992, the amount of old-growth forest suitable as

breeding habitat and number of occupied sites have declined throughout the breeding range,

increasing the most evident threat to murrelet population viability.”); 2009 5-Year Review at 29

(AR 8396-8503) (“Although the [Northwest Forest Plan] has reduced the rate of habitat loss due

to timber harvest on Federal lands, the threat of continued loss and degradation of suitable

nesting habitat remains on Federal and non-Federal lands through timber harvest and natural

events such as wildfire, insect outbreaks, and windthrow.”). The Court should not engage in a

3
 As FWS has not admitted any legal deficiencies, this case presents a different situation than in
Building Industry, 231 F. Supp. 2d at 103, where “[a]ll parties, including the responsible agency,
agree that the economic analyses used in designating the critical habitats are substantively
defective.”

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guessing game as to the seriousness of the deficiency of a rule that has been in place for 16 years.

               2.      Disruptive consequences of vacatur

       The “disruptive consequences” factor weighs strongly in favor of leaving the 1996 rule in

place. That factor must be evaluated in light of the purposes of the ESA, which places the

highest priority on the protection of imperiled species. See NAHB II, 2004 WL 3740765, at

*3-4; NRDC, 275 F. Supp. 2d at 1145 (“the inquiry turns on the foreseeable risk of harm to [the

listed species] during the remand period in the absence of the current critical habitat

designations”). As the Supreme Court emphasized in Tenn. Valley Auth. v. Hill, “examination of

the language, history, and structure of the legislation under review here indicates beyond doubt

that Congress intended endangered species to be afforded the highest or priorities.” 437 U.S.

153, 174 (1978). Accordingly, courts typically ensure that the most protective rule is in place

until the agency fully complies with the ESA. Courts not only refrain from vacating more

protective rules during remand, see, e.g., Idaho Farm Bureau, 58 F.3d at 1405-06 (retaining ESA

listing); Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 839 F. Supp. 2d 1117, 1129-30

(D. Or. 2011) (retaining protective measures in an otherwise arbitrary biological opinion);

NAHB II, 2004 WL 3740765, at *4 (retaining ESA listing); NRDC, 275 F. Supp. 2d at 1146

(retaining critical habitat); Endangered Species Comm., 852 F. Supp. at 42 (retaining ESA

listing), but also vacate those rules that provide less protection than their predecessors, see, e.g.,

Ctr. for Native Ecosystems v. Salazar, 795 F. Supp. 2d 1236, 1243 (D. Colo. 2011) (vacating

delisting); Humane Soc’y of U.S. v. Kempthorne, 579 F. Supp. 2d 7, 21 (D.D.C. 2008) (“[T]he

ESA’s preference for protecting endangered species counsels strongly in favor of vacating final

rule [that removed protections for Great Lakes wolves.]”).

       Unlike cases where there was no evidence of foreseeable harm resulting from vacatur, see

Building Industry, 231 F. Supp. 2d at 105 (“there is no evidence that vacating the critical habitat

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designation will lead to significant disruptive consequences.”), here, vacatur of the murrelet’s

1996 critical habitat rule will harm the species and frustrate the protective purpose of the ESA,

even though the species retains ESA listing protections. See NRDC, 275 F. Supp. 2d at 1147-56

(finding evidence that leaving critical habitat in place will have a “marginal benefit” in reducing

the risk of harm to listed species, so vacatur was not warranted). A showing that the existing rule

provides “some protection” to the species is sufficient to preclude vacatur. Cf. Nat’l Wildlife

Fed’n, 839 F. Supp. 2d at 1129 (“Vacating the 2008/2010 BiOp would remove beneficial

measures which even Plaintiffs acknowledge provide some protection for the species.”).

       The critical habitat for the murrelet provides greater protection to the species than its

ESA listing alone.4 As this Court has previously noted, “the primary protection for species

arising from critical habitat designation is found in Section 7(a)(2) of the ESA.” Building

Industry, 231 F. Supp. 2d at 105. That section requires that a federal agency must ensure that

any action “authorized, funded, or carried out by such agency” is “not likely to jeopardize the

continued existence of any endangered species or threatened species or result in the destruction

or adverse modification of critical habitat.” 16 U.S.C. § 1536(a)(2) (emphasis added).

       Accordingly, critical habitat is particularly protective in areas presently unoccupied by

the species. This Court in Building Industry found that vacating a critical habitat rule would not

“lead to significant disruptive consequences” for two listed species because “four of the five

vernal pools designated as critical habitat for the fairy shrimp and all of the twenty-two riparian

areas designated as critical habitat for the arroyo toad [were] occupied by the respective species.”

231 F. Supp. 2d at 105. It found that “all of the Section 7 consultations performed in critical

4
  Critical habitat has proven to be an effective conservation tool: species with critical habitat are
less likely to be declining, and over twice as likely to be recovering as those without. Taylor et
al., The Effectiveness of the Endangered Species Act: A Quantitative Analysis, BioScience,
Vol. 55, No. 4, April 2005 (Exhibit B to Boyles Decl.).

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habitat areas … would have been completed even in the absence of designation because the

presence of the species would have triggered concern over ‘jeopard[y] [to] the continued

existence’ of the species.” Id. (quoting 16 U.S.C. § 1536(a)(2)).

       In contrast, marbled murrelets currently occupy only a small portion of the designated

critical habitat necessary for their survival and recovery. In 1996, 695 occupied murrelet nesting

sites had been identified on federal lands. See 61 Fed. Reg. at 26,270 (695 murrelet nest sites

identified on federal lands within an almost 4 million acre critical habitat designation). Section 7

consultations, on both individual projects and programmatic actions, consider impacts to

hundreds of acres of murrelet critical habitat every year. See, e.g., Programmatic Consultation

Database, available at http://www.blm.gov/or/esa/reports/Programmatic_consultation_database_

sorted_by_region.xls (last visited Sept. 14, 2012). Without the 1996 rule, many fewer ESA § 7

consultations will occur during remand. This is unlike the situation in Building Industry,

231 F. Supp. 2d at 105, where this Court found that “vacating the existing critical habitat

designations is unlikely to impact the number of Section 7 consultations conducted during the

remand period.”5

       Even in cases where the protected species is present in critical habitat, critical habitat

provides a greater level of protection for the species in § 7 consultations than listing alone. See

Gifford Pinchot Task Force v. U.S. Fish & Wildlife Serv., 378 F.3d 1059, 1070 (9th Cir. 2004);

N.M. Cattle Growers Ass’n v. U.S. Fish & Wildlife Serv., 248 F.3d 1277, 1283 n.2 (10th Cir.

5
 Background protections, such as those provided by listing, are sometimes factored into the
“disruptive consequences” inquiry. See, e.g., Building Industry, 231 F. Supp. 2d at 106; NRDC,
275 F. Supp. 2d at 1153-56. However, while AFRC and FWS point to the protections of ESA
§ 9 to adequately compensate for the absence of critical habitat (Joint Memo. at 10), neither § 9
nor § 10 provide equivalent protections to § 7’s consultation requirement. See NRDC,
275 F. Supp. 2d at 1154-55. The criteria under which applicants must apply for § 10 take
permits are narrower than the criteria that trigger a § 7 consultation to prevent adverse
modification of critical habitat. Id. at 1155.

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2001); Sierra Club v. U.S. Fish & Wildlife Serv., 245 F.3d 434, 441-42 (5th Cir. 2001); Cape

Hatteras Access Pres. Alliance v. U.S. Dept. of Interior, 344 F. Supp. 2d 108, 130 (D.D.C. 2004)

(adopting the reasoning in Sierra Club and Gifford Pinchot); Defenders of Wildlife v. Norton,

239 F. Supp. 2d 9, 24 (D.D.C. 2002) (“Thus, the [threatened] Lynx cannot, by definition, receive

the full extent of protection provided by the ESA and the Section 7 consultation process until its

critical habitat is designated.”), vacated in part as moot, 89 Fed. Appx. 273 (D.C. Cir. 2004).

A § 7 consultation under the jeopardy standard involves an inquiry into whether the action will

threaten both the recovery and the survival of the species. Sierra Club, 245 F.3d at 443. The

adverse modification standard, however, “has broader scope and application.” NRDC, 275 F.2d

at 1148.

       The presence of critical habitat affects the design of projects as well. As an example, on

the Gifford-Pinchot National Forest, the Forest Service designed prescriptions for a timber sale

in murrelet critical habitat that included wide gaps within the stand, in an effort to provide for

maximum accelerated growth for future murrelet nest trees to help support murrelet recovery.

See Cowlitz Thin Timber Sale Environmental Assessment excerpt, Boyles Decl. Exhibit C. It

was the designation of critical habitat, not the presence of murrelets, that prompted changes in

agency action. Other federal land projects are routinely influenced by the designation of critical

habitat. See North Fork Siuslaw Landscape Management Project, Wildlife Report and Biological

Evaluation at 9, available at http://a123.g.akamai.net/7/123/11558/abc123/forestservic.download.

akamai.com/11558/www/nepa/61594_FSPLT2_124553.pdf (last visited Sept. 14, 2012, finding

that no-action alternative would retard agency goals of murrelet and owl recovery because it

would not improve murrelet and owl habitat.

       Finally, plaintiffs themselves acknowledge that more murrelet habitat will be destroyed if



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the critical habitat designation is vacated. Plaintiffs state that their members “seek to purchase

timber sales sold by the Forest Service or BLM in the coastal portions of Oregon, California, and

Washington that contain forests used or potentially used by marbled murrelets,” and that they

have been unable to do so as a result of the designation of critical habitat. Complaint, ¶ 4.

According to plaintiffs, designated murrelet critical habitat is preventing them from logging

these lands. If the 1996 rule were vacated during remand, § 7 requirements would be less

stringent, if required at all, for timber sales by the Forest Service and BLM in large swaths of

current critical habitat. This would have “significant disruptive consequences” for marbled

murrelet recovery by irreparably destroying habitat that has been deemed “essential for the

conservation of the species.” 61 Fed. Reg. at 26,264.

        C.      FWS’s Justifications for Vacating Critical Habitat Do Not Withstand Scrutiny.

                1.     The Northwest Forest Plan is not a substitute for critical habitat.

        In enacting the ESA, Congress stated that it was the policy of the United States that all

federal agencies ensure that they were taking steps to protect and recover listed species.

16 U.S.C. § 1531(c)(1). FWS, however, asserts that there will be no harm to murrelets from

vacating critical habitat by pointing to the actions of land management agencies. In support of

the joint motion, FWS relies on the existence of the Northwest Forest Plan (a land management

plan adopted by the Forest Service and BLM in 1994) to protect murrelets during the many years

it will take to re-promulgate murrelet critical habitat. Joint Memo. at 9.

        That position is contrary to law. FWS cannot use non-designated land to evade ESA

compliance. The Ninth Circuit unequivocally rejected a previous attempt to equate critical

habitat and Northwest Forest Plan protections, dismissing the argument that the protections of

the Northwest Forest Plan were relevant in determining whether logging would adversely modify

critical habitat:

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       Compliance with the [Northwest Forest Plan], as important as it is, does not in
       itself generate the same protection for habitat as Section 7 compliance.
       Congressional intent is clear, and existing or potential conservation measures
       outside the critical habitat cannot properly be a substitute for the maintenance of
       critical habitat that is required by [ESA] Section 7.

Gifford Pinchot, 378 F.3d at 1076; see also id. (“It matters not if there is worthwhile and

possibly suitable habitat outside of the designated ‘critical habitat;’ what mattered to Congress,

and what must matter to the agency, is to protect against loss or degradation of the designated

‘critical habitat’ itself.”). See also Center for Biological Diversity v. Norton, 240 F. Supp. 2d

1090, 1100 (D. Ariz. 2003); Middle Rio Grande Conservancy District v. Babbitt, 206 F. Supp. 2d

1156, 1169 (D.N.M. 2000) (ESA “compels the designation despite other methods of protecting

the species the Secretary … might consider more beneficial.”).

       The agency’s current view—that the loss of critical habitat protections will not harm the

murrelet because of the regulatory actions of another federal agency—also conflicts with the

view FWS held when it first promulgated murrelet critical habitat. Reviewing the overlap

between old-growth forest reserves and murrelet critical habitat, FWS stressed the

complimentary, not duplicative, nature of the critical habitat designation.

       These [Late-Successional Reserves], as managed under the Northwest Forest
       Plan, should develop into large blocks of suitable murrelet nesting habitat given
       sufficient time. However, LSRs are plan-level designations with less assurance of
       long-term persistence than areas designated by Congress. Designation of LSRs
       as critical habitat compliments and supports the Northwest Forest Plan and helps
       to ensure persistence of this management directive over time.

61 Fed. Reg. at 26,265 (emphasis added). In the 2009 5-Year Status Review, FWS stated that

although the Northwest Forest Plan protects some murrelets, without critical habitat,

“conservation benefits would not likely extend to all areas currently protected for the murrelet.”

2009 5-Year Status Review at 10 (AR 8396-8503). This Court should not defer to FWS’s new

position that the Northwest Forest Plan adequately replaces critical habitat. See F.C.C. v. Fox


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Television Stations, 556 U.S. 502, 515 (2009) (agency changing course must recognize the shift,

provide good reasons for the change, and explain how new position is consistent with statute).

       Additionally, the protections of the Northwest Forest Plan are almost sure to change over

the next six years. This year, BLM announced that it would revise the land management plans

for its six districts in Oregon that are now governed by the Northwest Forest Plan. 77 Fed. Reg.

14,414 (Mar. 9, 2012). The Okanogan-Wenatchee National Forest, also currently governed by

the Northwest Forest Plan, has begun the process to revise its land management rules, and other

Northwest Forest Plan forests are likely to follow. See Forest Plan Revision, available at

http://www.fs.usda.gov/detail/okawen/landmanagement/planning/?cid=fsbdev3_053653 (last

visited Sept. 14, 2012). FWS’s trust that the Northwest Forest Plan can “stand in” for critical

habitat for the next six years is misplaced.

               2.      Critical habitat plays an important role on non-federal lands.

       FWS also downplays the importance of critical habitat on non-federal lands, stating that

most forest management on state and private lands has no federal nexus. Joint Memo. at 10.

This is a questionable assumption. Many large private landowners and states themselves have

adopted habitat conservation plans (“HCPs”) under the ESA that give them a permit allowing

take of murrelets in return for mitigating protections. See Summaries of All HCP Documents for

Marbled Murrelets, available at http://ecos.fws.gov/speciesProfile/profile/displayAllDocuments!

hcp.action;jsessionid=97F0BD13801906E627C91F9803FF8C6C?spcode=B08C (last visited

Sept. 14, 2012) (listing 14 state and private HCPs, covering hundreds of thousands of acres).

HCPs, even though they cover state or private land, must be approved and pass § 7 consultation

muster by FWS.

       FWS also asserts that the critical habitat designation offers little benefit on private lands.

This assertion has been repeatedly criticized by commentators and rejected by the courts. See

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Conservation Council, 2 F. Supp. 2d at 1286 (“[T]here are significant substantive and procedural

protections that result from the designation of critical habitat outside of the consultation

requirements of Section 7.”); see also Pacific Seabird Group, Impacts to the Marbled Murrelet

from loss of suitable nesting habitat in California (March 24, 2010) (noting that “State Lands and

private lands with potential habitat play a crucial role in maintaining nesting habitat and ensuring

future murrelet recovery”), available at http://www.pacificseabirdgroup.org/policy/PSG_

MAMUCal.pdf (last visited Sept. 14, 2012).

       On state or private lands, in addition to § 7 consultation on HCPs and other actions with a

federal link, the designation “informs the public as well as state and local governments” about

the importance of specific areas to the survival and recovery of listed species. See Conservation

Council, 2 F. Supp. 2d at 1286. Such information may prove useful to people who do not

understand the importance of their land and activities, but who wish to ensure that they are not

harming murrelets out of goodwill or out of concern for violations of other sections of the ESA.

In short, designation of critical habitat helps species and people in the region by focusing

attention on the habitats where protection is most important.

       In addition, state rules may hinge on critical habitat designation. In Washington, for

example, specific State Forest Practices rules are automatically triggered by the presence of

critical habitat designation on private lands. 61 Fed. Reg. at 26,264; Wash. Admin. Code

§ 222-16-050(1). Applicants for forest practices permits in those cases must submit an

environmental checklist under the State Environmental Policy Act, in addition to the usual

information. Id. This provides for additional environmental review of the project’s impacts.

61 Fed. Reg. at 26,264. The murrelet’s critical habitat covers 2,500 acres of private land (not

including state land which contains murrelet habitat) in Washington, id. at 26,269, and vacatur of



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the 1996 rule would remove the additional environmental protections provided under

Washington law on these lands.

       D.      AFRC Will Not Be Prejudiced by Leaving a 16-Year-Old Rule in Place during
               Remand.

       Although not explicitly stated in the second Allied Signal factor, courts may consider the

“[p]otential prejudice from maintaining the status quo.” NRDC, 275 F. Supp. 2d at 1146; see

also Building Industry, 231 F. Supp. 2d at 107 (leaving rules in place “may erroneously place

regulatory burdens on plaintiffs and others”). But see Ctr. for Native Ecosystems, 795 F. Supp.

2d at 1243 (“delay and resultant cost” of ESA consultation required by more protective rule are

“irrelevant” in light of the “balancing process in favor of species protection”). In no case has this

burden been clearly persuasive in determining that vacatur was necessary. Even if that factor is

considered here, AFRC has not demonstrated that it will be significantly prejudiced by leaving

the 1996 rule in place, as it has been for the last 16 years. The burden imposed would be less

than that in Center for Native Ecosystems, a case in which the decision to revert to a more

protective rule imposed new consultation requirements on the intervenor-defendants.

       Balancing the Allied Signal factors, equity demands that the Court leave the 1996 rule in

place during remand. To vacate the designation would have significant disruptive consequences

on the marbled murrelet and its habitat, frustrating the protective purpose of the ESA.

       E.      The Length of the Requested Remand Is Contrary to the Public Interest.

       Finally, the length of the requested remand—at least six years—is not fair, reasonable, or

in the public interest. In Building Industry, this Court relied on the relatively short remand

period to find no harm from vacatur, particularly given the protections of other ESA sections.

Building Industry, 231 F. Supp. 2d at 106 (no identified threats “over the short time frame during

which new rules would be developed”). But even in that case this Court shortened the requested


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time period for revision of critical habitat from 31 months to 21 months. Id. at 107-08 (“despite

FWS’s resource allocation issues, the Court shall order that the proposed rules for new critical

habitat designations for both species be completed within 21 months”).

       FWS presents its recent settlement of the Multi-District Litigation case as explanation for

the long remand period. See Declaration of Gary Frazer, ¶¶ 17-25 (Aug. 10, 2012). Audubon

will not comment on the prudence of FWS leaving itself no buffer for unexpected actions, and

clearly the Multi-District settlement cannot stop the agency from complying with later court

orders. However, FWS’s alleged incapacity6 to address murrelet critical habitat in a reasonable

time-frame is another reason why its decision to agree to vacatur is unjust and not in the public

interest. FWS is voluntarily agreeing to vacate critical habitat while at the same time asserting

that its hands are tied for many years to do anything else. Audubon asks the Court to reject the

consent decree in its entirety, but at the very least, the Court should shorten the time-period for

the murrelet to regain its critical habitat substantially – to no more than 12 months.

                                          CONCLUSION

       AFRC and FWS have presented a consent decree to this Court for approval over which

the Court does not have jurisdiction. For this reason alone, the Court should reject the consent

decree and dismiss AFRC’s claims against the 1996 murrelet critical habitat rule. Moreover, the

consent decree attempts to vacate a 16-year-old federal rule with no public process or even

admission of legal defect, contrary to the law of this Circuit. Finally, even under the more

generous standard for review of consent decrees, this agreement is neither fair, reasonable, nor in

the public interest, for it would deprive the marbled murrelet in Washington, Oregon, and


6
 This Court “must scrutinize . . . claims [of impracticability] carefully since officials may seize
on a remedy made available for extreme illness and promote it into the daily bread of
convenience.” Natural Res. Def. Council v. Train, 510 F.2d 692, 713 (D.C. Cir. 1974).

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California of the habitat protections it needs to survive and recover for at least six years. For the

reasons discussed above, Audubon asks the Court to reject the proffered consent decree.

       Respectfully submitted this 14th day of September, 2012.



                                       s/ Kristen L. Boyles
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                                  CERTIFICATE OF SERVICE

       I am a citizen of the United States and a resident of the State of Washington. I am over

18 years of age and not a party to this action. My business address is 705 Second Avenue, Suite

203, Seattle, Washington 98104.

       On September 14, 2012, I served a true and correct copy of:

       1.      Defendant-Intervenors’ Opposition to Proposed Consent Decree; and
       2.      Declaration of Kristen L. Boyles in Support of Defendant-Intervenors’ Opposition
               to Proposed Consent Decree.

on the parties listed below:

Mark C. Rutzick
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       I, Catherine Hamborg, declare under penalty of perjury that the foregoing is true and

correct. Executed on this 14th day of September, 2012, at Seattle, Washington.




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